
OPINION OF THE COURT
The Appellant (plaintiff below) appeals a Final Judgment denying his claim for damages resulting from the alleged breach of a guarantee by Appellee (defendant below). We agree that the lower court erred in ruling that there was no merit to Appellant’s claim that the Appellee is liable under the doctrine of equitable estoppel and reverse.
The evidence was uncontroverted that each of the essential elements of an equitable estoppel existed. Although Appellee objects to the application of this equitable principal by the County Court in his Brief, there was no objection made at the trial level. (Pages 66 et seq. Transcript). Rather it was argued that the essential elements were not established. That contention is not supported by the evidence.
*2This cause is reversed and remanded to the trial court for the entry of a Final Judgment in favor of the Appellant in the sum of $1,800.00 plus interest.
